               Case 6:19-bk-17704-WJ                   Doc         Filed 02/12/24 Entered 02/12/24 11:21:42                                Desc Main
 Fill in this information to identify the case:
                                                                  Document      Page 1 of 6
 Debtor 1              April Terese Canaan

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA
                                                                                     (State)
 Case number           6:19-bk-17704-WJ




Form 4100R
Response to Notice of Final Cure Payment                                                                                                               10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:          Mortgage Information

     Name of creditor:        Lakeview Loan Servicing, LLC                                                           Court claim no. (if known):
                                                                                                                     13
    Last 4 digits of any number you use to identify the debtor’s account: 2982

    Property Address: 6049 Red Spur Ct
                             Number          Street




                             Fontana, CA 92336-4548
                             City                         State     ZIP Code



 Part 2:          Prepetition Default Payments

    Check one:
          Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
          on the creditor’s claim.
          Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
          on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
          of this response is:                                                                                                         $


 Part 3:          Postpetition Mortgage Payment

    Check one:
          Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
          the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

          The next postpetition payment from the debtor(s) is due on: ___/___/_____
                                                                          MM / DD / YYYY


          Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
          of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
          Creditor asserts that the total amount remaining unpaid as of the date of this response is:
          a. Total postpetition ongoing payments due: 1 payment at $2,566.09 (Suspense $2,484.99)                                (a) $ 81.10
          b. Total fees, charges, expenses, escrow, and costs outstanding:
                                                                                                                               + (b) $ 0.00
          c. Total. Add lines a and b.
                                                                                                                                 (c)   $ 81.10
          Creditor asserts that the debtor(s) are contractually
          obligated for the postpetition payment(s) that first became
          due on:                                                              01/01/2024
                                                                           MM / DD / YYYY




Form 4100R                                               Response to Notice of Final Cure Payment                                                  page 1
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                                                                       Document      Page 2 of 6

Debtor 1             April Terese Canaan                                                                          Case number (if   6:19-bk-17704-WJ
                                                                                                                  known)
                     First Name   Middle Name      Last Name



 Part 4:       Itemized Payment History

   If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
   debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
   the creditor must attach an itemized payment history disclosing the following amounts from the date of the
   bankruptcy filing through the date of this response:
    all payments received;
    all fees, costs, escrow, and expenses assessed to the mortgage; and
    all amounts the creditor contends remain unpaid.



 Part 5:       Sign Here

 The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
 proof of claim.

 Check the appropriate box.

              I am the creditor.
              I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.

 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.



  ✖/s/ Jennifer C. Wong                                                                   Date       02/12/2024
        Attorney For Creditor


  Print Jennifer C. Wong, Esq.                                                             Title Attorney for Creditor
           First Name                Middle Name                 Last Name



 Company McCarthy & Holthus, LLP


 If different from the notice address listed on the proof of claim to which this response applies:



 Address 2763 Camino Del Rio South, Suite 100
              Number               Street
              San Diego, CA 92108
              City                                             State         ZIP Code



Contact phone 877-369-6122                                                                 Email bknotice@mccarthyholthus.com




Form 4100R                                                       Response to Notice of Final Cure Payment                                              page 2
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                                                         Document      Page 6 of 6
                                                                                                                             M&H File No. CA-19-157686



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                             2763 Camino Del Rio S., Suite 100
                                                   San Diego, CA 92108

A true and correct copy of the foregoing document entitled (specify): RESPONSE TO NOTICE OF FINAL CURE
PAYMENT will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/12/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

  TRUSTEE                                             DEBTOR(S) COUNSEL
  Rod Danielson (TR)                                  Benjamin Heston
  notice-efile@rodan13.com                            bhestonecf@gmail.com



                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 2/12/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

DEBTOR(S)
April Terese Canaan, 6049 Red Spur Court, Fontana, CA 92336




                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/12/2024                      Hue Banh                                                        /s/ Hue Banh
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
